
The prisoner was indicted for burglary and larceny, in the District Court, held at Accomack court-house, in October 1789, before Judges Tazewell and Prentis, and was found guilty by the jury. After the trial, he produced an exception to the court in arrest of judgment on the verdict; the exception was in the following words : “Because the said burglary is not expressly laid to have been committed within the jurisdiction of this court, or within the district composed of the counties of Accomack and Northampton.” The indictment commenced 2 *thus ; “Accomack, set. the grand jury for the district of Accomack and Northampton, &amp;c.” and laid the offence to have been committed “in the county of Northampton, at the parish of Hungars.” The matter of law arising on the exception taken in arrest of judgment, was adjourned by the District Court, and at a General Court, held November 26th, 1789, present Judges Parker, Tyler, and Bullitt, it was declared to be the opinion of the court, “that the plea of the prisoner, and the matter therein contained, are sufficient in law to arrest the judgment on the said verdict.”
Note. This case is referred to by Judge Tucker in his Appendix p. SS, to 4th Blackstone. By an act passed January 24th, 1804, it is enacted “that after the verdict of twelve men, no judgment or any indictment, or information for felony, or any other offence whatsoever, shall be stayed or reversed for any supposed defect or imperfection in any such indictment or information, so as the felony, or offence therein charged to have been committed, or done, be plainly and in substance set forth with convenient certainty, so as to enable the court to give judgment thereupon according to the very right of the cause, any former law, custom, or usage to the contrary notwithstanding.” 2d Vol. Revised Code, p. 38, Sect. 6th. Under this act, an opinion was expressed by the five following judges, namely, W. Nelson, 3 xWhite, Stuart, Coalter and Evans, to this effect: “That after verdict in a criminal case, judgment ought not to be arrested for want of laying in the indictment, information, or presentment, an express day, or for not alleging expressly that the offence was committed within the jurisdiction of the court, when the offence is expressly averred to have been committed in the county over which the court hath jurisdiction : the verdict in such cases will be embraced and supported, by the act of Jeofails passed January 1804.” This opinion was given by those judges at a conference held in June 1810.
